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 Fill in this information to identify your case:

 Debtor 1                  Cindy Lee Temple
                           First Name                       Middle Name               Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name               Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MARYLAND

 Case number
 (if known)                                                                                                                  Check if this is an
                                                                                                                             amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         First Home Mortgage Corporation                       Surrender the property.                        No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a           Yes
    Description of        43 Pine Bluffs Lane Elkton, MD                     Reaffirmation Agreement.
    property              21921 Cecil County                                 Retain the property and [explain]:
    securing debt:        value from zillow.com

                          Joint with Ex-Husband Ronald
                          Estep


    Creditor's         Harley Davidson Financial                             Surrender the property.                        No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a           Yes
    Description of 2017 Harley-Davidson XL1200T                              Reaffirmation Agreement.
    property       1300 miles                                                Retain the property and [explain]:
    securing debt: Car 3                                                    Continue to make monthly payments as
                   value from nada.com                                     they become due


    Creditor's         Lendmark Financial Services                           Surrender the property.                        No



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 Debtor 1      Cindy Lee Temple                                                                       Case number (if known)


     name:                                                                   Retain the property and redeem it.                         Yes

                                                                            Retain the property and enter into a
     Description of 2004 Ford F150 154,000 miles                            Reaffirmation Agreement.
     property       Car 2                                                   Retain the property and [explain]:
     securing debt: value from carmax                                     Continue to make monthly payments as
                                                                         they become due


     Creditor's    Lendmark Financial Services                              Surrender the property.                                     No
     name:                                                                  Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
     Description of 2009 Surveyor Forest River                              Reaffirmation Agreement.
     property       M-303                                                   Retain the property and [explain]:
     securing debt: value from nada.com
                                                                          Continue to make monthly payments as
                        Joint with Dean A. Mays                          they become due



     Creditor's    Mr. Cooper                                               Surrender the property.                                     No
     name:                                                                  Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
     Description of     43 Pine Bluffs Lane Elkton, MD                      Reaffirmation Agreement.
     property           21921 Cecil County                                  Retain the property and [explain]:
     securing debt:     value from zillow.com

                        Joint with Ex-Husband Ronald
                        Estep

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:               Wendel Sexton                                                                                       No

                                                                                                                                  Yes

 Description of leased        Rental Agreement
 Property:



 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Cindy Lee Temple                                                         X
       Cindy Lee Temple                                                                 Signature of Debtor 2
       Signature of Debtor 1

       Date        April 25, 2019                                                   Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                      page 2

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